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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

 In Re:                                             Case No. 18-33656

 Nyctasia Tyri Simmons
                                                    Chapter 13

 Debtor                                             Judge Thomas H. Fulton

                  AGREED ORDER CONCERNING OBJECTION TO PLAN

          This matter having come on before the Court upon the Objection to Confirmation of Plan

filed herein by the secured creditor, Bridgecrest Credit Company, LLC an affiliated company of

Bridgecrest Acceptance Corporation (“Creditor”); and it appearing to the Court that the parties

have agreed to a course of action which will resolve the objection. Counsel for Creditor and

Counsel for Debtor have agreed to treat the loan of the 2011 DODGE CALIBER - VIN

1B3CB5HA1BD215238 as fully secured with an interest at 6.25%, with adequate protection

payments of $163.00.
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       This is a final and appealable order.

IT IS SO ORDERED.

Agreed Upon and Submitted by:

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(Per E-Mail Authorization received on 1/11/2019)


/s/ Chuck Sydenstricker
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